      Case 2:14-bk-30849-SK                              Doc 39 Filed 01/24/18 Entered 01/24/18 10:54:10                                                        Desc Ch
                                                             13 Discharge Page 1 of 2
Information to identify the case:
Debtor 1                 Delray M Richardson                                                                   Social Security number or ITIN          xxx−xx−6695

                         First Name     Middle Name      Last Name                                             EIN     _ _−_ _ _ _ _ _ _

Debtor 2                 Carla C Richardson                                                                    Social Security number or ITIN          xxx−xx−1501
(Spouse, if filing)
                         First Name     Middle Name      Last Name                                             EIN     _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Central District of California

Case number: 2:14−bk−30849−SK




Order of Discharge − Chapter 13                                                                                                                                               12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

             Delray M Richardson                                                                  Carla C Richardson
             dba Del Funk Boy Music, faw Delray                                                   fka Carla Cruz
              [include all names used by each debtor, including trade names, within the 8 years    [include all names used by each debtor, including trade names, within the 8 years
             prior to the filing of the petition]                                                 prior to the filing of the petition]

             Debtor 1 Discharge Date: 1/24/18                                                     Debtor 2 Discharge Date: 1/24/18
             Dated: 1/24/18                                                                       By the court:                Sandra R. Klein
                                                                                                                               United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 13 Case
This order does not close or dismiss the case.         Most debts are discharged
                                                       Most debts are covered by the discharge, but not all.
                                                       Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts              liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                                In a case involving community property: Special rules
attempt to collect a discharged debt from the                                            protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                        spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                              case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                        Some debts are not discharged
debtors by mail, phone, or otherwise in any                                              Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                                     ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                                     ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                               ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                                         U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                                    523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                                     the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                                                                                                               39/LLI
                                                                                                                           For more information, see page 2 >


Form 3180W−doa3                                                           Order of Chapter 13 Discharge                                                   page 1
    Case 2:14-bk-30849-SK          Doc 39 Filed 01/24/18 Entered 01/24/18 10:54:10                     Desc Ch
                                       13 Discharge Page 2 of 2




      ♦ debts that the bankruptcy court has                             ♦ debts for restitution, or damages,
        decided or will decide are not discharged                         awarded in a civil action against the
        in this bankruptcy case;                                          debtor as a result of malicious or willful
                                                                          injury by the debtor that caused
                                                                          personal injury to an individual or the
      ♦ debts for most fines, penalties, forfeitures,                     death of an individual; and
        or criminal restitution obligations;

                                                                        ♦ debts for death or personal injury
      ♦ some debts which the debtors did not                              caused by operating a vehicle while
        properly list;                                                    intoxicated.


      ♦ debts provided for under 11 U.S.C. §                     In addition, this discharge does not stop
        1322(b)(5) and on which the last payment                 creditors from collecting from anyone else who
        or other transfer is due after the date on               is also liable on the debt, such as an insurance
        which the final payment under the plan                   company or a person who cosigned or
        was due;                                                 guaranteed a loan.

      ♦ debts for certain consumer purchases
        made after the bankruptcy case was filed if               This information is only a general
        obtaining the trustee's prior approval of                 summary of a chapter 13 discharge; some
        incurring the debt was practicable but was                exceptions exist. Because the law is
        not obtained;                                             complicated, you should consult an
                                                                  attorney to determine the exact effect of
                                                                  the discharge in this case.




Form 3180W−doa3                              Order of Chapter 13 Discharge                         page 2
